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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT


TOWN OF WETHERSFIELD,

                           Plaintiff,

                      v.

PURDUE PHARMA L.P., D/B/A PURDUE
PHARMA (DELAWARE) LIMITED                              Civil Action No. ___________
PARTNERSHIP; PURDUE PHARMA INC.;
THE PURDUE FREDERICK COMPANY, INC.;                    (Removal from:
RHODES PHARMACEUTICALS, L.P.;
RHODES TECHNOLOGIES; RHODES                            Superior Court
PHARMACEUTICALS INC.; RHODES                           Judicial District of Hartford
TECHNOLOGIES INC.; TEVA
                                                       at Hartford)
PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; JOHNSON & JOHNSON;
JANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC.
n/k/a JANSSEN PHARMACEUTICALS, INC.;
ENDO HEALTH SOLUTIONS INC.; ENDO
PHARMACEUTICALS, INC; ALLERGAN PLC
f/k/a ACTAVIS PLC; ACTAVIS, INC. f/k/a
WATSON PHARMACEUTICALS, INC.;
WATSON LABORATORIES, INC.; ACTAVIS
LLC; ACTAVIS PHARMA, INC. f/k/a WATSON
PHARMA, INC.; MALLINCKRODT LLC;
SPECGX LLC; and INSYS THERAPEUTICS,
INC.,

                           Manufacturer Defendants,

        - and -

MCKESSON CORPORATION; CARDINAL
HEALTH, INC.; AMERISOURCE BERGEN
DRUG CORPORATION; CVS HEALTH
CORPORATION; CVS PHARMACY, INC.;
RITE AID CORPORATION; WALGREEN
BOOTS ALLIANCE, INC.; and WALMART,
INC.,

                           Distributor Defendants,

        - and -


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JOHN KAPOOR; RICHARD SACKLER;
THERESA SACKLER; KATHE SACKLER;
JONATHAN SACKLER; MORTIMER D.A.
SACKLER; BEVERLY SACKLER; DAVID
SACKLER; AND ILENE SACKLER
LEFCOURT,

                      Individual Defendants.



                                NOTICE OF REMOVAL

          In accordance with the Class Action Fairness Act (“CAFA”), 28 U.S.C.

 §§ 1332(d)(2), 1441, 1446, and 1453, Defendant Walgreens Boots Alliance, Inc.

 (“Walgreens”), with full reservation of defenses,1 gives notice of the removal of this

 action from the Superior Court, Judicial District of Hartford to the United States

 District Court for the District of Connecticut. This case is removable under CAFA

 because the lawsuit is essentially a class action lawsuit, litigation of this case in

 federal court promotes CAFA’s overall purpose, and CAFA’s statutory requirements

 are satisfied. In support of removal, Walgreens provides the required “short and

 plain statement of the grounds for removal.” 28 U.S.C. § 1446(a); see also Dart

 Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 553 (2014) (“By

 design, § 1446(a) tracks the general pleading requirement stated in Rule 8(a) of the

 Federal Rules of Civil Procedure.”).




         By filing this Notice of Removal, Walgreens Boots Alliance, Inc. does not
          1

 concede that it is a proper party to this action and expressly reserves all defenses,
 including lack of personal jurisdiction.

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I.       Nature of Removed Action

         1.          On or about June 12, 2019, Plaintiff Town of Wethersfield (“Plaintiff”)

returned a Writ, Summons, and Complaint2 in the Superior Court, Judicial District

of Hartford, commencing a civil action, Docket No: HHD-CV-XX-XXXXXXX-S, for

claims relating to prescription opioid medications. Plaintiff asserts claims against

three defendant groups: manufacturers, distributors, and individual defendants.

Plaintiff brings claims for public nuisance (Count One), violations of the

Connecticut Unfair Trade Practices Act (Counts Two and Three), common law fraud

(Counts Four and Five), negligent misrepresentation (Count Six), negligence (Count

Seven), and unjust enrichment (Count Eight). Plaintiff seeks damages and

equitable relief for alleged injuries to its residents and to itself.

         2.          This action is one of more than 2,000 opioid lawsuits filed by

government entities against manufacturers and distributors of prescription opioid

medications. Plaintiffs in these cases allege that Defendants are liable for the

economic and non-economic injuries suffered by resident doctors, health care

payors, and opioid-addicted individuals, as well as for the costs incurred in

addressing the opioid epidemic.

         3.          On December 5, 2017, the Judicial Panel on Multidistrict Litigation

(“JPML”) created a Multidistrict Litigation in the Northern District of Ohio (“Opiate

MDL”) for cases just like this one—cases in which “cities, counties and



         2   The original Complaint is attached as Exhibit 1.

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states . . . allege that: (1) manufacturers of prescription opioid medications

overstated the benefits and downplayed the risks of the use of their opioids and

aggressively marketed . . . these drugs to physicians, and/or (2) distributors failed to

monitor . . . and report suspicious orders of prescription opiates.” In re Nat’l

Prescription Opiate Litig., MDL No. 2804, Dkt. No. 1 (Dec. 12, 2017 Transfer Order)

(Exhibit 2). To date, nearly 1,900 actions have been transferred to the Opiate

MDL.

         4.          Plaintiff’s 187-page Complaint resembles nearly all of the complaints

filed in the Opiate MDL. The bulk of the allegations in these complaints have been

levied by cities and counties against the manufacturers for alleged deceptive

marketing of prescription opioids from approximately the 1990s to the present. In

fact, the allegations are nearly identical to those asserted in The County of Summit,

Ohio, et. al. v. Purdue Pharma L.P., et al., MDL No. 17-md-2804, Case No. 1:18-op-

45090, a bellwether case that is currently being litigated in the Opiate MDL.

         5.          Plaintiff’s Complaint also resembles each of the following cases which

was removed to federal court under CAFA and transferred to the Opiate MDL:

                     a.    Noble County, Ohio by the Noble County Commissioners v.

                           Cardinal Health, Inc., et al., 2:18-cv-01379-EAS-EPD, Dkt. No. 1

                           (S.D. Ohio, Nov. 6, 2018) (Sargus, C.J.) (removed under CAFA

                           and transferred to the Opiate MDL);




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                     b.   The People of the State of Illinois and St. Clair County, Illinois v.

                          Teva Pharmaceuticals USA, Inc., et al., 3:18-cv-02077 (Gilbert,

                          J.) (S.D. Ill., Nov. 15, 2018) (same);

                     c.   Meigs County, Ohio v. Cardinal Health, Inc., 2:18-cv-01582-EAS-

                          EPD (S.D. Ohio, Dec. 6, 2018) (Sargus, C.J.) (same);

                     d.   Washington County, Ohio, By its Commissioners, et al. v.

                          Cardinal Health, Inc., et al., 2:18-cv-01706-EAS-KAJ (S.D. Ohio,

                          Dec. 14, 2018) (Sargus, C.J.) (same);

                     e.   County of Carbon v. Purdue Pharma L.P., et al., 2:18-cv-05625

                          (E.D. Pa., Dec. 31, 2018) (Sánchez, C.J.) (same);

                     f.   Delaware County, Pennsylvania v. Purdue Pharma L.P., et al.,

                          2:18-cv-05627 (E.D. Pa., Dec. 31, 2018) (Sánchez, C.J.) (same);

                     g.   Jefferson County v. Dannie E. Williams, M.D., et al., 4:19-cv-

                          00157, Dkt. No. 1 (E.D. Mo., Jan 31, 2019) (White, J.) (same);

                          and

                     h.   The People of the State of Illinois, The People of Union County,

                          and County of Union v. Purdue Pharma L.P., et al., 1:19-cv-2169

                          (N.D. Ill., Mar. 28, 2019) (Walker, J.) (same).

         6.          The thrust of the Complaint is that the “Manufacturer Defendants”

allegedly engaged in a “disinformation campaign to open the market for their

[opiate] drugs, despite the known risk of addiction.” See Compl. ¶ 148. This



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campaign, Plaintiff alleges, was launched “for reasons of greed, rather than a

scientific basis, and they continue to misrepresent the safety and efficacy of opioid

treatment for chronic pain.” Id. ¶ 150. As part of this “campaign” Plaintiff alleges

that Manufacturer Defendants “spent hundreds of millions of dollars . . . funding,

assisting, encouraging, and directing [Key Opinion Leaders] to deliver scripted

talks, publish misleading studies, and present CMEs that disseminated false and

incomplete           information    to   medical       practitioners,”   and   “deploying   sales

representatives, who visited doctors and other prescribers, who marketed their

opioids for ‘non-indicated’ or off-label purposes, not approved by the FDA . . . .” Id.

¶ 151.

         7.          As to the “Distributor Defendants,” Plaintiff alleges that they “fail[ed]

to report suspicious orders, reasonably investigate such orders, or halt such orders,

thereby knowingly, recklessly, or negligently making grossly excessive distributions

of opioid drugs into the Town of Wethersfield, and its surrounding areas, which

threatened (and continues to threaten) the public health and safety of residents of

the Town.” Id. ¶ 407. Plaintiff alleges that, as a result of such activities, each of the

“Big Three” Distributor Defendants “repeatedly and purposefully breached its

duties under state statutory and common law with clear knowledge that a

foreseeable result of its breach would be the diversion of dangerous prescription

opioids for non-medical purposes.” Id. ¶ 408. As for the “National Retail

Pharmacies,” Plaintiff alleges that, “[l]ike the “Big Three Distributor Defendants,”



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they are “responsible for preventing diversion of prescriptions opioids into the

illegal market by . . . monitoring and investigating suspicious activities,” but also

have additional duties as “public-facing institutions with direct connections to the

communities they serve.” Id. ¶¶ 418-19.

         8.          Regarding the Individual Defendants, Plaintiff alleges that they

controlled and directed the alleged misconduct engaged in by the Manufacturer

Defendants. See, e.g., Compl. ¶¶ 503, 540-48, 556-62.

         9.          Based on these allegations, Plaintiff claims a litany of injuries to its

residents and to itself stemming from the alleged abuse of addictive opioids. These

include alleged damages in the form of expenses incurred in providing health,

social, and law enforcement services related to opioid addiction and death, as well

as economic losses on behalf of its citizens. Id. at ¶¶ 477-527.

 II.     This Action Is Removable Under CAFA

         10.         Like other prescription opioid lawsuits brought by municipalities,

Plaintiff’s lawsuit is removable under the CAFA, 28 U.S.C. §§ 1332(d) and 1453(b).

That is because: (1) litigation of this case in federal court raises factual and legal

issues of national importance that would further CAFA’s overall purpose; and

(2) each of CAFA’s statutory requirements is satisfied. This Court must assess

jurisdiction under CAFA at the time of removal. 28 U.S.C. § 1332(d).




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         A.          This Is an Interstate Case of National Importance

         11.         First, this lawsuit is precisely the type of case that Congress intended

to be litigated in federal court. Congress has expressed its intent “to strongly favor

the exercise of federal diversity jurisdiction over class actions with interstate

ramifications.” S. Rep. No. 109-14, at 35 (2005), as reprinted in 2005 U.S.C.C.A.N. 3,

34; see also Standard Fire Ins. Co. v. Knowles, 568 U.S. 588, 595 (2013) (“CAFA’s

primary objective” is to “ensur[e] Federal court consideration of interstate cases of

national importance.”) (citations and quotes omitted); accord Dart Cherokee, 135 S.

Ct. at 554.

         12.         This case is one of hundreds of cases filed across the country in which

government entities have sued prescription opioid manufacturers, distributors, and

others for harms arising from the abuse of these drugs. The Opiate MDL has nearly

1,900 cases that are part of a national opioid “crisis” and epidemic allegedly

besieging certain areas of Connecticut and the rest of the country. Plaintiff scripted

its Complaint from complaints in cases already being litigated in the Opiate MDL.

For example, Plaintiff asserts that its claims touch upon issues of national

importance, as well as duties under federal law. See, e.g., Compl. ¶ 1 (referring to an

opioid epidemic “in the United States”); id. ¶ 49 (contending that certain defendants

“engaged in the manufacture, promotion, distribution, and sale of opioids

nationally”); id. ¶ 432 (alleging that certain defendants “fail[ed] to abide by state




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and federal law and regulations”); id. at ¶ 565 (alleging that certain defendants

violated their obligations and breached their duties under federal law).

         13.         As Plaintiff avers, the issues in this case implicate factual and legal

issues that span well beyond State lines and, as a result, should be litigated in

federal court along with the other lawsuits in the Opiate MDL. In denying remand

in another opioid case in the diversity context, the United States District Court for

the Southern District of West Virginia observed the following:

                     Here, where the opioid epidemic is pervasive and
                     egregious, there is at least a possibility of prejudice to the
                     defendants at the hands of a jury drawn exclusively from
                     the very county that is the plaintiff in this suit. A federal
                     jury casts a wider net and is drawn from a division that
                     comprises several counties. All may have an opioid
                     problem, but not one that is specific to the plaintiff
                     county.

City of Huntington v. AmerisourceBergen Drug Corp., No. CV 3:17-01362, 2017

WL 3317300, at *2 (S.D. W. Va. Aug. 3, 2017).

         14.         Plaintiff, like the other plaintiffs in the Opiate MDL, has alleged that

the Distributor Defendants failed to make reports to the Drug Enforcement

Administration (“DEA”). See Compl. ¶ 565 (alleging that Defendants were required

to “halt the suspicious sales of drugs throughout the United States” and “alert the

DEA”). Judge Polster has established protocols for the DEA to submit confidential

and sensitive data from its internal databases for use in the litigation.3



        Less than two months after the MDL was created, Judge Polster convened
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the first day-long settlement conference on January 31, 2018. Judge Polster

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         15.         In short, jurisdiction in this matter is consistent with and promotes the

purpose of CAFA.

         B.          CAFA’s Statutory Requirements Are Met

         16.         To be removed under CAFA, this suit must qualify as a class action,

there must be 100 members of the proposed class, the amount in controversy must

exceed $5 million, and there must be minimum diversity between the parties. 28

U.S.C. §§ 1332(d), 1453. All these requirements are met here.

                     i.    In Substance, This Case Is a Class Action

         17.         CAFA applies here because this case essentially is a class action. While

Plaintiff has not alleged a putative class action on the face of its Complaint, and has

taken pains to contend that there is no federal question presented, this case is

removable because it is “in substance a class action.” Addison Automatics, Inc. v.

Hartford Cas. Ins. Co., 731 F.3d 740, 742 (7th Cir. 2013).

         18.         CAFA provides that “district courts shall have original jurisdiction of

any civil action in which the matter in controversy exceeds the sum or value of

$5,000,000, exclusive of interests and costs, and is a class action in which . . . any

member of a class of plaintiffs is a citizen of a State different from any defendant.”

28 U.S.C. § 1332(d)(2); see also Blockbuster, Inc. v. Galeno, 472 F.3d 53, 56 (2d Cir.

2006) (recognizing that “CAFA amends the diversity statute . . . to confer original

federal jurisdiction over any class action involving (1) 100 or more class members,


required attendance by party representatives and their insurers and invited
attendance by Attorneys General and representatives of the DEA and FDA.

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(2) an aggregate amount in controversy of at least $5,000,000 . . . , and (3) minimal

diversity, i.e., where at least one plaintiff and one defendant are citizens of different

states.”). CAFA “calls upon federal district court judges to look beyond the face of a

complaint when determining whether federal jurisdiction exists over a matter that

appears to be a class action in all but name.” W. Virginia ex rel. McGraw v. Comcast

Corp., 705 F. Supp. 2d 441, 452 (E.D. Pa. 2010) (holding defendant properly

removed action brought by the State of West Virginia against Comcast under CAFA

because subscribers were the real parties in interest); see also Bullard v. Burlington

N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (“[L]itigation counts as a

class action if it is either filed as a representative suit or becomes a ‘mass action’ at

any time.”).

         19.         CAFA defines a “class action” as “any civil action filed under rule 23 of

the Federal Rules of Civil Procedure or similar state statute or rule of judicial

procedure authorizing an action to be brought by 1 or more representative persons

as a class action.” 28 U.S.C. § 1332(d)(1)(B). Consistent with Congress’s overall

objective in favoring federal diversity jurisdiction over class actions with interstate

ramifications, “the definition of ‘class action’ is to be interpreted liberally. Its

application should not be confined solely to lawsuits that are labelled ‘class

actions’ . . . . Generally speaking, lawsuits that resemble a purported class action

should be considered class actions for the purpose of applying these provisions.”




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S. Rep. No. 109-14, at 35 (2005), as reprinted in 2005 U.S.C.C.A.N. 3, 34 (emphasis

added).

         20.         Thus, ‎where a lawsuit “resembl[es] a class action” by asserting claims

both individually ‎and on behalf of others, CAFA removal has been found proper.

Badeaux v. Goodell, 358 F. Supp. 3d 562, 567 (E.D. La. 2019). Courts have refused

to “prioritize a complaint’s use of magic words over its factual allegations,” and have

held that CAFA jurisdiction exists even where the complaint “does not seek class

certification” or “omits reference to” a state statute “analogous to Rule 23.” Williams

v. Employers Mut. Cas. Co., 845 F.3d 891, 900-01 (8th Cir. 2017); see also Dart

Cherokee, 135 S. Ct. at 554 (“[N]o antiremoval presumption attends cases invoking

CAFA, which Congress enacted to facilitate adjudication of certain class actions in

federal court”); Badeaux, 358 F. Supp. 3d, 567 (“A lawsuit resembling a class action

will not escape CAFA jurisdiction simply because it omits the words ‘class action’ or

does not include the state rule or statute under which it proceeds as a class

action.”).

         21.         Here, Plaintiff is acting as a representative for a class of residents who

were allegedly harmed, either directly or indirectly, by Defendants’ purported

misconduct. Plaintiff alleges that Defendants have inflicted both economic and non-

economic injuries on their individual residents.

         22.         Plaintiff’s alleged injuries derive from its residents’ injuries and cannot

be separated from those injuries. Plaintiff seeks to recover costs in providing law



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enforcement, medical, and social services for opioid addiction, emergencies, and

overdose deaths, all of which stem from its residents’ alleged opioid abuse and

addiction. Damages, too—to the extent that there are any attributable to

Defendants—would be a calculation of aggregate damages resulting from individual

instances of opioid addiction and death. For instance, Plaintiff alleges that

Defendants’ alleged scheme harmed “the public health of Americans, Connecticut

residents, and residents of the Town of Wethersfield.” Compl. ¶ 10; see also, e.g., id.

¶ 352 (“This misconduct caused injury in Wethersfield by, among other things,

killing its residents . . . .”); id. ¶ 535 (“Each Defendant’s conduct . . . has resulted in

significant and unreasonable interference with the public health, safety, peace, and

welfare of Wethersfield’s residents.”); id. ¶ 411 (alleging that diversion of

prescription drugs “subject[ed] Americans and Connecticut residents, including

residents of the Wethersfield community, to grievous harm up to, and including,

death by overdose”).

         23.         Plaintiff has expressly brought this action in a representative capacity

on behalf of its residents. See id. ¶ 45.




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                     ii.     CAFA’s 100-Member Requirement Is Met

         24.         Plaintiff’s Complaint satisfies CAFA’s 100-member requirement

because the putative class consists of thousands of residents and at least hundreds

injured. See 28 U.S.C. § 1332(d)(5)(B); see also Compl. ¶ 41.

         25.         Here, the Complaint alleges that the Town of Wethersfield, which “at

the 2010 census” had a population of 26,668, Compl. ¶ 41, “has been struck

particularly hard by the influx of opioid drugs and resulting boom in the number of

opioid addicts,” id. ¶ 490. The number of opioid-related deaths in Wethersfield has

risen from 2 deaths in 2012 to 6 in 2017. Id. Statewide, “917 people in Connecticut

died from drug overdoses in 2016, representing a more than 25% jump from 2015

when 729 people died.” Id. ¶ 486. Accordingly, the potential number of people who

have been or may be affected thus well exceeds the 100-member requirement under

CAFA.

                      iii.   CAFA’s Minimal Diversity Requirements Are Met

         26.         There is minimal diversity between Plaintiff and Defendants under

CAFA. District courts have original jurisdiction of “any civil action in which the

controversy exceeds the sum or value of $5,000,000, exclusive of interests and costs,

and is a class action in which . . . any member of a class of plaintiffs is a citizen of a

State different from any defendant.” 28 U.S.C. § 1332(d)(2). CAFA eliminates the

requirement of complete diversity. Instead, CAFA requires only minimal diversity—




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meaning that the parties are diverse if the plaintiff’s citizenship differs from that of

at least one defendant. 28 U.S.C. § 1332(d)(2)(A).

         27.         For purposes of diversity jurisdiction, a political subdivision is a citizen

of the state. See Moor v. Alameda Cty., 411 U.S. 693, 717 (1973) (“[A] political

subdivision of a State . . . is a citizen of the State for diversity purposes.”). A

corporation is “a citizen of every State and foreign state by which it has been

incorporated and of the State or foreign state where it has its principal place of

business.” 28 U.S.C. § 1332(c)(1). For purposes of CAFA, the citizenship of any

unincorporated association, such as limited partnerships and limited liability

companies, is determined by the entity’s principal place of business and the State

under whose laws it is organized. 28 U.S.C. § 1332(d)(10).

         28.         There is minimal diversity between the parties. Plaintiff Town of

Wethersfield is a political subdivision of Connecticut. And many of the Defendants

are citizens of States other than Connecticut. To name just a few:

                     a.    Defendants      Endo     Health     Solutions    Inc.    and    Endo

                           Pharmaceuticals Inc. are both corporations organized under the

                           laws of Delaware and both maintain their principal places of

                           business in Malvern, Pennsylvania. They are, accordingly,

                           citizens of Delaware and Pennsylvania.

                     b.    Defendant Teva Pharmaceuticals USA, Inc. is a corporation

                           organized under the laws of Delaware with its principal place of



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                           business in North Wales, Pennsylvania. It is, accordingly, a

                           citizen of Delaware and Pennsylvania.

                     c.    Defendant Johnson & Johnson is a corporation organized under

                           the laws of New Jersey with its principal place of business in

                           New Brunswick, New Jersey. It is, accordingly, a citizen of New

                           Jersey.

                     d.    Defendant Cardinal Health, Inc. is a corporation organized

                           under the laws of Ohio with its principal place of business in

                           Dublin, Ohio. Accordingly, it is a citizen of Ohio.

                     e.    Defendant Walgreens Boots Alliance, Inc. is a corporation

                           organized under the laws of Delaware with its principal place of

                           business in Deerfield, Illinois. Accordingly, it is a citizen of

                           Delaware and Illinois.

         29.         Because there is diversity of citizenship between at least one plaintiff

and at least one defendant, this action meets the minimal diversity requirement

under Section 1332(d)(2)(A).

                     iv.   The Amount in Controversy Exceeds the Jurisdictional
                           Limit

         30.         The amount in controversy exceeds the jurisdictional threshold under

CAFA. Where, as here, a plaintiff alleges no specific amount of damages, “a

defendant’s notice of removal need include only a plausible allegation that the

amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee, 135 S.


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Ct. at 554. And, in making such determinations, “the claims of the individual class

members shall be aggregated.” 28 U.S.C. § 1332(d)(6).

         31.         Here, Plaintiff alleges injuries resulting from opioid abuse and

addiction that has allegedly afflicted Plaintiff and its residents with allegations

extending as far back as the 1990s. See, e.g., Compl. ¶ 6. Given the extent of the

alleged injuries and time period, the alleged amount in controversy easily exceeds

$5 million.4

III.     Compliance With Procedural Requirements

         32.         Walgreens has satisfied all the procedural requirements for removal

under 28 U.S.C. § 1446 and the District of Connecticut.

         33.         Walgreens is filing this Notice of Removal pursuant to U.S.C. § 1441(a)

in the United States District Court for the District of Connecticut, because the state

court in which the action is pending, the Superior Court, Judicial District of

Hartford, is within this federal judicial district and this division. This Notice is

signed pursuant to Rule 11 of the Federal Rules of Civil Procedure.




         The amount in controversy represents only what Plaintiff requests at this
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stage in the proceeding. This is not an admission that Plaintiff is entitled to recover
this amount. See, e.g., Plyler v. Whirlpool Corp., No. 08 C 6637, 2012 WL 469883, at
*2 (N.D. Ill. Feb. 13, 2012) (“[A] defendant’s statement in a Notice of Removal
concerning the amount in controversy does not constitute a judicial admission to
plaintiff’s ultimate damage entitlement.”).


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         34.         Walgreens was served in this action on June 4, 2019.5 Walgreens is

removing the case within 30 days of that date; therefore, this removal is timely

under 28 U.S.C. § 1446(b). See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,

526 U.S. 344, 356 (1999).

         35.         In accordance with 28 U.S.C. § 1446(a), a copy of “all process,

pleadings, orders, and other documents then on file in the State Court,” are

attached as Exhibit 4.6

         36.         After filing this Notice, in accordance with 28 U.S.C. § 1446(d),

Walgreens will serve a copy of this Notice upon the Plaintiff, and will file a copy of

the Notice with the Clerk of the Superior Court, Judicial District of Hartford.

         37.         For the purposes of removal based on diversity jurisdiction under 28

U.S.C. § 1332(a) and 28 U.S.C. § 1446(b), all Defendants who have been properly

joined and served must consent to removal. Under CAFA, however, “[a] class action

may be removed . . . by any defendant without the consent of all defendants.” 28

U.S.C. 1453(b) (emphasis added).

         38.         Nothing in this Notice of Removal should be interpreted as a waiver or

relinquishment of any Defendant’s right to assert any and all defenses or objections

to the Complaint, including lack of personal jurisdiction. If there are any questions

that arise as to the propriety of removal of this action, Walgreens respectfully



        A copy of Walgreens’ appearance is attached hereto as Exhibit 3.
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       With the exception of the Complaint, which is attached as Exhibit
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1, to avoid duplication as it is voluminous .

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requests the opportunity to submit briefing, argument, and additional evidence as

necessary to support removal, without waiver of its objection to personal

jurisdiction.

                                    Conclusion

         WHEREFORE, Walgreens removes this action to this Court for further

proceedings according to law.

Dated: July 2, 2019                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        This is to certify that on this the 2nd day of July, 2019, a copy of the foregoing was
filed electronically. Parties may access this filing through the Court’s CM/ECF system. In
addition, a copy of the foregoing will be served on the following by e-mail (where
available), and first-class mail, postage prepaid.

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